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                                           UNITED STATES DISTRICT COURT

                                                   DISTRICT OF OREGON

                                                    PORTLAND DIVISION

              LOUJAIN HATHLOUL ALHATHLOUL,                     )
                                                               )             Civil No. 3:21-cv-01787-IM
                       Plaintiff,                              )
              v.                                               )
                                                               )
                                                                 DECLARATION OF RYAN ADAMS
                                                               )
              DARKMATTER GROUP,                                )
              MARC BAIER,                                      )
              RYAN ADAMS, and                                  )
              DANIEL GERICKE                                   )
                                                               )
                    Defendants.                                )
              __________________________________


                   I, Ryan Adams, hereby declare as follows:

                   1. I formerly worked as an employee of DarkMatter Group.

                   2. During my employment with DarkMatter Group, I was seconded to the UAE’s National

                      Electronic Security Authority (NESA).

                   3. Before beginning work for NESA, I entered into a non-disclosure agreement with that

                      agency that designates all of the information I obtained while working for NESA as

                      confidential and requires me to keep it confidential and not disclose it.

                      I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.

            Executed this 15th day of March 2024 in Abu Dhabi, UAE.



                                                             ____________________________
                                                             Ryan Adams
